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Matthew G. McHenry, OSB 043571
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              IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF OREGON


UNITED STATES OF AMERICA,                ) No. 3:20-mj-00178
                                         )
                                         ) UNOPPOSED MOTION TO
             Plaintiff,                  ) CONTINUE ARRAIGNMENT DATE
      vs.                                )
                                         )
                                         )
EVAN LOUIS KRIECHBAUM                    )
                                         )
             Defendant.                  )


      Defendant Evan Kriechbaum, through his attorney Matthew G.

McHenry, moves to postpone his arraignment, currently set for November

January 19, 2021, until April 12, 2021, or a date thereafter convenient to the

Court and government. The government does not oppose this motion.

      Respectfully Submitted this 19th day of January, 2021:

                          /s/ Matthew G. McHenry
                          Matthew G. McHenry
                          Counsel for Evan Kriechbaum
